                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

JOHN DOE,

      Plaintiff,
                                             CIVIL ACTION NO.
      v.                                     1:25-CV-2421-SEG

NATIONAL FOOTBALL LEAGUE,

      Defendant.


                                       ORDER

      This matter is before the Court for consideration of an application to proceed

in forma pauperis (IFP) without prepaying fees or costs under 28 U.S.C. § 1915(a)(1),

filed by Plaintiff John Doe. 1 (Doc. 1). The declaration Plaintiff signed in support of




      1 Section 1915(a) allows a Court to “authorize the commencement . . . of any

suit, action or proceeding . . . without prepayment of fees or security therefor, by
a person who submits an affidavit that includes a statement of all assets such
[person] possesses that the person is unable to pay such fees or give security
therefor.” 28 U.S.C. § 1915(a)(1). The Supreme Court has held that the term
“person” in Section 1915(a) refers only to individuals, and not to artificial entities
like associations, corporations, and partnerships. Rowland v. Cal. Men’s Colony,
Unit II Men’s Advisory Council, 506 U.S. 194, 201–07 (1993). Here, there is sufficient
information in Plaintiff’s IFP application to determine that Plaintiff is an
individual. The Court offers no opinion on the propriety of Plaintiff filing this
action under the pseudonym “John Doe.”
the application to proceed in forma pauperis demonstrates that Plaintiff is unable to

incur the costs of this litigation, and the application, (Doc. 1), is GRANTED.

      Under 28 U.S.C. § 1915(e)(2), a court is required to dismiss an in forma

pauperis complaint at any time if the court determines that the allegation of poverty

is untrue or that the action: (1) is frivolous or malicious; (2) fails to state a claim on

which relief may be granted; or (3) seeks monetary relief against a defendant who

is immune from such relief. A claim is frivolous if “it lacks an arguable basis either

in law or in fact.” Neitzke v. Williams, 490 U.S. 319, 325 (1989). Accordingly, the

Clerk is DIRECTED to submit this matter to the District Judge for a frivolity

determination under § 1915(e)(2).

      IT IS SO ORDERED, this 2nd day of May, 2025.




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